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                                    MINUTES



 CASE NUMBER:           CR NO. 17-0101LEK
 CASE NAME:             USA vs. (01) ANTHONY T. WILLIAMS
 ATTYS FOR PLA:
 ATTYS FOR DEFT:
 INTERPRETER:


      JUDGE:      Leslie E. Kobayashi         REPORTER:

      DATE:       05/20/2019                  TIME:


COURT ACTION: EO: Defendant (01) Anthony T. Williams Motion [479] for
Injunction Against the FDC For Retaliation will be considered by Judge Leslie E.
Kobayashi as a Non Hearing Motion.

Responsive Memorandum or Memorandum in Opposition is due 6/3/2019.
Reply Memorandum is due 6/17/2019.

Defendant (01) Anthony T. Williams Motion [479] for Injunction Against the FDC For
Retaliation will be taken under submission thereafter. Court to iuuse Order.

Submitted by: Warren N. Nakamura, Courtroom Manager
